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                           UNITED STATES DISTRICT COURT

                                     DISTRICT OF MAINE


 UNITED STATES OF AMERICA                      )
                                               )
                                               )
                                               )
 v.                                            )              CRIMINAL NO. 07-74-B-H-16
                                               )
 LISA DELAURENTIIS,                            )
                                               )
                        DEFENDANT              )


          ORDER ON GOVERNMENT’S MOTION IN LIMINE RE: USE OF
                CERTAIN STATEMENTS BY DEFENDANT AND
             DEFENDANT DeLAURENTIIS’ MOTION IN LIMINE TO
               EXCLUDE THE FRUITS OF HER COOPERATION

        The defendant Lisa DeLaurentiis entered into a plea agreement and

 cooperation agreement with the government. In both of those agreements, she

 waived explicitly her right not to have things she said thereafter used against her

 if she breached her agreement. At a subsequent guilty plea proceeding, she

 (through counsel) refused to answer satisfactorily the court’s standard Rule 11

 questions. As a result, I rejected the proffered guilty plea.1

        The case now is proceeding to jury trial in Bangor in August.                           The

 government has asked for an in limine ruling “that the defendant’s statement

 made at her Rule 11 hearing and the statements she made during the course of

 her cooperation with the Government are admissible in the Government’s case-in-

 chief at the defendant’s trial.”           Gov’t’s Mot. in Limine Re: Use of Certain


 1 After a later hearing on a motion to suppress, I granted her motion to suppress statements that

 she made to law enforcement at the time of her arrest because they were in violation of her right to
 (continued on next page)
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 Statements by Def. at 1 (Docket Item 685). DeLaurentiis has asked that “any and

 all evidence” be excluded at trial “unless and until the government proves

 affirmatively that the evidence is derived from a legitimate source wholly

 independent of the immunized statements and other cooperation provided by

 defendant DeLaurentiis.” Def. Delaurentiis’ Mot. in Limine to Exclude the Fruits

 of Her Cooperation at 1 (Docket Item 734). I GRANT the government’s motion and

 DENY DeLaurentiis’s motion.

        DeLaurentiis relies upon the immunity provision of the Mandatory Plea

 Agreement Supplement. It provides: “In return for Defendant’s full and truthful

 cooperation, the U.S. Attorney agrees not to use any information provided by

 Defendant pursuant to this Agreement and the proffer agreement executed on

 November 7, 2008, or any information directly or indirectly derived therefrom

 against Defendant in any criminal case” (with certain inapplicable exceptions).

 Mandatory Plea Agreement Supplement at 2-3 (Docket Item 593). The government

 relies upon certain provisions of both agreements. The Plea Agreement states:

 “Defendant agrees to plead guilty to the Second Superseding Indictment herein

 pursuant to Rule 11 of the Federal Rules of Criminal Procedure” and to be

 sentenced accordingly. Agreement to Plead Guilty at 1 (Docket Item 592). The

 Plea Agreement also states that a breach of the agreement occurs “[i]f Defendant

 violates or fails to perform any obligations under this agreement.” Id. at 3-4. The

 Mandatory Plea Agreement Supplement states that breach occurs if the obligant

 “violates or fails to perform any obligations” under either agreement. Mandatory


 an attorney and involuntary.

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 Plea Agreement Supplement at 3. Both documents provide that if the defendant

 breaches, the United States

             may fully prosecute the defendant on all criminal charges that
             can be brought against the defendant. With respect to such a
             prosecution . . . [, t]he United States may use any statement
             that the defendant made pursuant to this agreement,
             including statements during plea discussions and plea
             colloquies, and the fact that the defendant pleaded guilty, and
             Defendant hereby waives any claim under Rule 410 of the
             Federal Rules of Evidence or Rule 11(f) of the Federal Rules of
             Criminal Procedure that such statements and guilty plea are
             inadmissible.

 Plea Agreement at 4; Mandatory Plea Agreement Supplement at 3. The Mandatory

 Plea Agreement Supplement further provides that if the defendant breaches “[t]he

 United States may further make derivative use of statements made pursuant to

 this Agreement and Defendant thereby waives any right to claim that evidence

 presented in such a prosecution is tainted by virtue of the statements the

 Defendant has made pursuant to this Agreement.” Mandatory Plea Agreement

 Supplement at 3.

       The provisions of evidence Rule 410 and criminal Rule 11 that DeLaurentiis

 explicitly waived are her rights not to have her plea agreement or associated

 statements admitted into evidence in later proceedings.            The United States

 Supreme Court has held that such waivers are enforceable. United States v.

 Mezzanatto, 513 U.S. 196, 209 (1995). The only question on these cross-motions,

 then, is whether DeLaurentiis breached either or both agreements, because a

 breach permits use of the statements. Since the Mandatory Plea Agreement

 Supplement (the cooperation agreement that includes the immunity provision)

 incorporates by reference the Plea Agreement (it says that “[i]f Defendant violates


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 or fails to perform any obligations under . . . the plea agreement (a ‘breach’), the

 United States will be released from its obligations hereunder and may fully

 prosecute the defendant on all criminal charges . . . .”), I deal only with the former.

 The Plea Agreement provides that the court must determine whether a breach

 occurred and the burden of proof is on the government, by a preponderance of the

 evidence. Plea Agreement at 4.

       Did DeLaurentiis breach the Plea Agreement?

       I conclude that DeLaurentiis breached the Plea Agreement. Although at the

 outset of the Rule 11 colloquy she initially tendered a plea of guilty, she

 consciously and intentionally failed to complete the Rule 11 proceeding.

 Specifically, her lawyer refused to answer my question whether he was satisfied

 that she was pleading guilty because she was actually guilty. Instead, he told me

 that he had no evidence of her actual guilt, that all the evidence the government

 had provided him failed to establish her guilt, that any inculpatory statements she

 had made upon arrest ought to be suppressed, that for him to answer my

 question in this context would violate Maine Bar Rules and the attorney-client

 privilege, and that he was not authorized (by his client) to answer my question.

 Tr. of Rule 11 Hr’g at 5-7 (Docket Item 613). This was no misunderstanding on

 his or DeLaurentiis’s part. Both knew that her guilty plea would not go forward

 without an answer to the question. The issue had been discussed in at least two

 preceding chambers conferences in the first of which the lawyer said that

 answering the question would not be a problem and in the second of which he

 said that it would be a problem. I told DeLaurentiis that she could engage other


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 counsel, if she chose, so as to complete the guilty plea successfully. Id. at 7. In

 an effort not to come between her and her lawyer I also told her that she was

 entitled to keep her current counsel.2 Id. Nevertheless she did not give her lawyer

 authority to answer my question.3 I conclude, therefore, that the government has

 met its burden of proof to show that DeLaurentiis failed to perform her obligations

 under the Plea Agreement.4              There is nothing ambiguous about either the

 agreement or her conduct.5




 2 The transcript reveals that I told her to “stick with” her current counsel.  I meant to say that she
 was entitled to “stick with” her current counsel, not to urge her one way or the other. That is her
 choice to make, not mine.
 3 In an Appendix, I address the recent controversy over this particular question that the judges in

 the District of Maine have used for decades.
 4 Because DeLaurentiis and her lawyer aborted the Rule 11 proceeding, I never reached the stage

 of actually approving the plea agreement and the cooperation agreement. Indeed, customarily I do
 not rule on the acceptability of the Plea Agreement until sentencing, after I have reviewed the
 Presentence Report. Nevertheless, DeLaurentiis does not argue that the agreements are
 unenforceable, and indeed affirmatively seeks to enforce the Cooperation Agreement. I note certain
 statements by the First Circuit in the context of plea agreements that have not secured judicial
 approval, United States v. Bennett, 103 F. App’x 409 (1st Cir. 2004) (noting that “[e]very plea
 agreement is subject to court approval,” and thus “no rights remained under the proffered plea
 agreement once [the trial judge] rejected [the defendant]’s guilty plea” for lack of factual basis);
 United States v. Lopez, 944 F.2d 33, 37 (1st Cir. 1991) (describing “a[ ] [plea] agreement which was
 never enforceable between the contracting parties due to the failure of a condition precedent; here,
 the approval of the district court”), but they arise in unique factual contexts (defendant Bennett
 agreed that there was no binding plea agreement; defendant Lopez was trying to secure the
 benefits of someone else’s plea agreement). The First Circuit has also said that the analysis may
 be different where, as here, the defendant has breached the agreement. United States v. Ventura-
 Cruel, 356 F.3d 55, 63 n.10 (1st Cir. 2003). Moreover, it has assumed the enforceability of a plea
 agreement even where a previously approved plea and plea agreement has been withdrawn. United
 States v. Newbert, 504 F.3d 180, 185-86 (1st Cir. 2007). Other Circuits seem uniform in holding
 that agreements are contractually enforceable between the parties whether or not they have
 secured judicial approval. United States v. Scruggs, 356 F.3d 539 (4th Cir. 2004); United States v.
 Swick, 262 F.3d 684 (8th Cir. 2001); United States v. Young, 223 F.3d 905 (8th Cir. 2000); United
 States v. Birch, 156 F.3d 1315 (D.C. Cir. 1998); United States v. Wright, 2 F.3d 66 (4th Cir. 1993);
 United States v. Hagen, 2008 WL 5392092 (W.D. N.C. 2008); United States v. El-Amin, 268 F.
 Supp. 2d 639 (E.D. Va. 2003).
 5 I do remain gravely concerned whether this is DeLaurentiis’s own considered decision, not merely

 her lawyer’s attempt to make a point. The lawyer’s obligation is to act in DeLaurentiis’s own best
 interests, not for some abstract proposition that he endorses.


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       Since DeLaurentiis has waived her rights under Rule 410 and Rule 11 and

 has breached the Plea Agreement, the government is entitled to use all the

 evidence in question against her.

       SO ORDERED.

       DATED THIS 29TH DAY OF JULY, 2009


                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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                                                                           APPENDIX

       For decades the judges of this District have asked a defendant’s lawyer,

 after the defendant has said that she is pleading guilty, whether the lawyer is

 satisfied that the defendant is pleading guilty because she is actually guilty. (My

 recollection is that I inherited the question when I first took the bench in 1990.)

 Our careful colloquies have served the criminal justice process well. Successful

 challenges to guilty plea proceedings either on appeal or later § 2255 motions are

 hen’s-tooth rare in this District. A challenge to this particular question first arose

 within the past year. Since the mere fact that the question has been unchallenged

 for so long does not guarantee its legitimacy, however, I examine the issue briefly.

       First, the source of the controversy. In United States v. Godin, Crim. No.

 07-06-P-S-03 (D. Me.), after defense counsel filed a motion to withdraw his client’s

 guilty plea asserting that his client was indeed not guilty, the Assistant United

 States Attorney suggested that such a position was in direct contravention of the

 express representations defense counsel made to the court at the Rule 11 hearing.

 That defense lawyer then concluded that answering the court’s question created a

 potential ethical dilemma. Tr. of Change of Plea in United States v. Jenkins, 08-

 67-P-H-01 (D. Me) at 9-10 (Docket Item 190). The same lawyer then pursued the

 issue in United States v. Jenkins, Crim. No. 08-67-P-H-01 (D. Me.). I insisted

 upon an answer, and a mandamus petition was unsuccessful. United States v.

 Jenkins, Crim. No. 08-67-P-H-01 (D. Me.) (Docket Item 217) (Order of the Court of

 Appeals for the First Circuit denying writ of mandamus). However, I recognize

 that denial of mandamus is not a decision on the merits, and therefore continue


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 the inquiry.    That lawyer engaged Attorney MacColl, now the lawyer for

 DeLaurentiis, to “represent” him during the Jenkins proceedings and proffered

 him as an expert on the Maine Bar Rules. On January 4, 2009, Attorney MacColl

 wrote a letter to the judges of the court objecting to the question and giving his

 reasons. Attorney MacColl has pressed his position in this case on behalf of

 DeLaurentiis.

       There seem to be three major objections to the question as posed in

 DeLaurentiis’ case:

       1.     It is not explicitly called for by Rule 11. That statement, as far as it

 goes, is true. But the rule “impose[s] a duty on the court in cases where the

 defendant pleads guilty to satisfy itself that there is a factual basis for the plea

 before entering judgment.      The court should satisfy itself, by inquiry of the

 defendant or the attorney for the government, or by examining the presentence

 report, or otherwise, that the conduct which the defendant admits constitutes the

 offense charged in the indictment or information or an offense included therein to

 which the defendant has pleaded guilty.” Fed.R. Crim. P 11 advisory committee’s

 note (emphasis added). Thus, the question is well within the authority of Rule 11.

       2.     It is contrary to the Maine Bar Rules. Maine Bar Rule 3.7(e)(2)(v)

 currently provides: “In appearing in a professional capacity before a tribunal, a

 lawyer shall not[ ] . . . [a]ssert a personal opinion as to . . . the guilt or innocence

 of an accused.”     DeLaurentiis’s lawyer maintains that the Rule 11 question

 violates this provision. I examined the history of the Bar Rule in Jenkins and

 described it on the record at the time of the first aborted plea, a proceeding that


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 Attorney MacColl attended. I ruled explicitly then that answering the question did

 not violate the Maine Bar Rules. Thus, a lawyer is not at risk of offending, given

 my ruling. Moreover, I said that I would consider any contrary written opinion

 from Bar Counsel, but I have been provided none. Finally, that particular Bar

 Rule was amended by the Maine Supreme Judicial Court on February 26, 2009,

 effective August 1, 2009, to make it absolutely clear that it does not apply in guilty

 plea proceedings. As of August 1, it will provide that “[a] lawyer shall not . . . in

 trial . . . state a personal opinion as to the . . . the guilt or innocence of an

 accused.” Me. Bar R. 3.4(e) (emphasis added). Thus, if the Bar Rule were truly

 the obstacle, DeLaurentiis could have notified the government and the court

 through her counsel that she would remove the obstacle to the plea on August 1.

       3.     Answering the question violates the attorney-client privilege. This

 appears to be the real reason for the refusal to answer the question. Attorney

 MacColl said that he was “not authorized” to answer the question. Tr. of Rule 11

 Hr’g at 6. I conclude, therefore, that DeLaurentiis (to whom the privilege belongs,

 not her lawyer) told MacColl not to answer the question. Instead, MacColl told me

 that all the evidence except that provided by the defendant, was inconsistent with

 her guilt.

       DeLaurentiis has not provided any persuasive argument that answering the

 question violates the attorney-client privilege. If the lawyer says “yes,” I ask no

 further questions on the subject. I do not ask the lawyer what the defendant told

 him. If the lawyer says “no,” then I inquire more diligently of the defendant to

 determine whether there really is a factual basis for the plea.         This is what


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 happened in United States v. Bruno-Roman, Crim. No. 05-104-P-H, cited in the

 appellate briefs on mandamus in Jenkins. Godin is the classic case that shows

 why the question is relevant.           There, Judge Woodcock initially accepted the

 defendant’s guilty plea. Later, Judge Singal learned that Godin and his lawyer

 both believed that Godin was innocent, but had pursued the guilty plea because of

 fear of the harsh sentence. But if that is the nature of the decision, it is more

 properly treated as an Alford plea,6 and the court and the government need to

 know that an Alford plea is being offered, and act accordingly. The plea may or

 may not be accepted with that full knowledge.

        The lawyer’s confirmation is extremely important. Any experienced trial

 judge knows that at a Rule 11 proceeding, a defendant often behaves like a deer

 caught in the headlights. Defendants regularly turn to their lawyers for a signal

 on how to answer the court’s questions, clearly frozen by the monumental

 consequences of the process. That is why the judges of this District have long

 distributed, in advance, copies of their Rule 11 questions, at first in hard copies

 and now electronically on the Court’s website, so that lawyers and clients can

 examine them and discuss them at leisure in advance of the actual hearing. The

 lawyer’s considered confirmation, upon review of all the evidence, that he is

 satisfied that the defendant is pleading guilty because she is actually guilty, helps

 provide assurance that a fearful defendant’s guilty plea deserves acceptance.



 6 An Alford plea permits an individual accused of crime to “voluntarily, knowingly, and
 understandingly consent to the imposition of a prison sentence even if he is unwilling or unable to
 admit his participation in the acts constituting the crime.” See North Carolina v. Alford, 400 U.S.
 25, 37 (1970).


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       Moreover, if this question truly is problematic, then there are other

 questions that will be foreclosed. For example, from the court’s indictment waiver:

 “Has anything come to your attention that casts any doubt on the defendant’s

 competence to waive indictment?” and “Are you aware of any reasons why I should

 not permit this defendant to waive indictment?” and from the Rule 11 script: “Are

 you satisfied that [the defendant] understands the charges contained in [the

 Count[s]] of the indictment/information and the penalties that can be imposed?”

 (A similar question is asked at the waiver of indictment.) Theoretically, any of

 these questions could implicate things that the defendant has said to her lawyer.

       Finally, if there is an attorney-client privilege issue implicated in the

 question, I see no reason why the defendant should not waive it for the limited

 purpose of answering the question and persuading the judge to accept her guilty

 plea on the basis that she truly is guilty. Here, Attorney MacColl’s statements

 about the evidence gave me real reason to doubt the factual basis for

 DeLaurentiis’s plea. In telling MacColl that he was not authorized to answer my

 question, I can only conclude that DeLaurentiis intentionally reserved something

 in her guilty plea.




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